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AO FORM B9I−COB FORM b9i_13 #822 (Chapter 13 Case) (12/07)                                                      Case Number 09−13729−MER


                                    UNITED STATES BANKRUPTCY COURT
                                             District of Colorado
 Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, & Deadlines, and
             Notice of Hearing on Confirmation of Chapter 13 Plan
      The debtor(s) listed below filed a chapter 13 bankruptcy case on 3/10/09.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
          Read All Pages of this Document for Important Information and Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Anthony Romero II                                                       Maria Romero
9800 W. Wagon Trail Dr.                                                 9800 W. Wagon Trail Dr.
Denver, CO 80123                                                        Denver, CO 80123
Case Number:                                                            Last four digits of Social Security No./Complete EIN or other
09−13729−MER                                                            Taxpayer ID No.:
                                                                        xxx−xx−0536
                                                                        xxx−xx−0848
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Matthew Aguero                                                          Sally Zeman
P.O. Box 621940                                                         Chapter 13 Trustee
Littleton, CO 80162                                                     PO Box 1169
Telephone number: 303−933−4529                                          Denver, CO 80201
                                                                        Telephone number: ( ) 303−830−1971

                                                       Meeting of Creditors
Date: April 21, 2009                                           Time: 11:00 AM
Location: U.S. Custom House, 721 19th St., Room 125, Denver, CO 80202

                                                               Deadlines:
                             Papers must be received by the bankruptcy clerk's office by the following deadlines:

                                                 Deadline to File a Proof of Claim:
       For all creditors (except a governmental unit): 7/20/09            For a governmental unit (except as otherwise provided in Fed.R.
                                                                               Bankr. P. 3002(c)(1)): 180 Days from the Filing Date
                                                      Creditor with a Foreign Address:
         A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                        *
                            Deadline to File a Complaint Objecting to Dischargeability of Certain Debts: 6/22/09
                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.
            *
                Filing of Plan, Hearing on Confirmation of Plan, Other Confirmation/Objection Deadlines
The debtor has filed a plan. The plan is enclosed. The debtor is responsible for providing appropriate service under Fed.R.Bankr.P. 7004 and
9014 if applicable. The hearing on confirmation will be held:
Date: 5/11/09 , Time: 09:30 AM , Location: U.S. Custom House, 721 19th St., Courtroom D, Denver, CO 80202 , Fifth Floor Custom
House, 721 19th St., Denver, CO 80202, unless a written objection is filed, the plan may be confirmed as unopposed upon the filing of a
Verification of Confirmable Plan pursuant to Transitional Local Bankruptcy Rule (T.L.B.R.) 3015−1.
The last day to file an objection to the plan is three business days before the date of the first scheduled meeting of creditors, pursuant to
Fed.R.Bankr.P. 2002(b) and 9006(c) and T.L.B.R.3015−1. Objections to the plan must comply with T.L.B.R. 3015−1 and shall clearly
specify the grounds upon which they are based, including the citation of supporting legal authority, if any. General objections will not be
considered by the Court. If objections are filed, objecting parties and the debtor may receive supplemental hearing notice from the Judge
assigned to this case regarding whether the hearing on confirmation will be telephonic or conducted in person, if an objecting party and the
debtor do not receive additional information, they should appear in person on the hearing date.
Parties objecting to confirmation and the debtor are obligated to meet and confer no later than ten days following the first date set for the
meeting of creditors pursuant to T.L.B.R. 3015−1. No later than fourteen days following the date of the first scheduled meeting of creditors,
the debtor is to file a certificate pursuant to T.L.B.R. 3015 regarding the status of the objections and plan.


                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's
property, and certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
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request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.
                                      Deadline to Provide Documents and Notice of Possible Dismissal:
Pursuant to 11 U.S.C. §521(e)(2), Interim Bankruptcy Rule 4002 and T.L.B.R. 1017−1, no later than seven business days prior to the
original date set for the first meeting of creditors, the debtor shall provide to the case trustee a copy of the Federal income tax return
required under applicable law, or a transcript of such return, for the most recent tax year ending immediately before the commencement of
the case and for which a Federal income tax return is filed, and provide the same tax information to creditors that requested a copy at least
fifteen days prior to the meeting of creditors. The failure to comply will result in dismissal of the debtor's case unless the debtor
demonstrates that the failure to so comply is due to circumstances beyond the control of the debtor. T.L.B.R. 1017−1.
Pursuant to 11 U.S.C. §1308, not later than the day before the first scheduled meeting of creditors, the debtor shall file with appropriate tax
authorities all tax returns for the 4−year period ending on the date of the filing of the petition that were not previously submitted and were
required to be submitted under applicable law.
Pursuant to Interim Bankruptcy Rule 4002, each individual debtor shall bring the meeting of creditors: 1) picture identification issued by a
governmental unit, or other personal identifying information that establishes the debtor's identity and evidence of a social security number
or a written statement that such documentation does not exist; and 2) documents or copies or a written statement that such documentation
does not exist of a) current income such as the most recent payment advice, pay stub, or earnings statement; b) statements for each of the
debtor's depository (bank, credit union) and investment accounts for the time period that includes the date of the filing of the petition.
Address of the Bankruptcy Clerk's Office:                                                         For the Court:
US Bankruptcy Court                                                      Clerk of the Bankruptcy Court:
US Custom House                                                          s/ Bradford L. Bolton
721 19th St.
Denver, CO 80202−2508
Telephone number: 720−904−7300
Hours Open: Monday − Friday 8:00 AM − 5:00 PM                            Date: 3/11/09
* Applicable for cases filed on or after October 17, 2005


                                                          EXPLANATIONS                                                        FORM B9I (10/06)
Filing of Chapter 13    A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case         court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows an
                        individual with regular income and debts below a specified amount to adjust debts pursuant to a plan. A plan is not
                        effective unless confirmed by the bankruptcy court. You may object to confirmation of the plan and appear at the
                        confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the
                        confirmation hearing is not indicated on the front of this notice, you will be sent notice of the confirmation hearing.
                        Please see the front for information on the plan and confirmation hearing. The debtor will remain in possession of
                        the debtor's property and may continue to operate the debtor's business, if any, unless the court orders otherwise.

 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.

Creditors Generally  Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and §
May Not Take Certain 1301. Common examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to
Actions              demand repayment; taking actions to collect money or obtain property from the debtor; repossessing the debtor's
                     property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                     certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court
                     to extend or impose a stay.
Meeting of Creditors    A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                        in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                        are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                        without further notice.
Claims                  A Proof of Claim is a signed statement describing a creditor's claim. If a Proof of Claim form is not included with
                        this notice, you can obtain one at any bankruptcy clerk's office. A secured creditor retains rights in its collateral
                        regardless of whether that creditor files a Proof of Claim. If you do not file a Proof of Claim by the "Deadline to file
                        a Proof of Claim" listed on the front side, you might not be paid any money on your claim from other assets in the
                        bankruptcy case. To be paid you must file a Proof of Claim even if your claim is listed in the schedules filed by the
                        debtor. Filing a Proof of Claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a
                        lawyer can explain. For example, a secured creditor who files a Proof of Claim may surrender important
                        nonmonetary rights, including the right to a jury trial. Filing Deadline for a Creditor with a Foreign Address: The
                        deadlines for filing claims set forth on the front of this notice apply to all creditors. If this notice has been mailed to
                        a creditor at a foreign address, the creditor may file a motion requesting the court to extend the deadline.
Discharge of Debts      The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                        never try to collect the debt from the debtor. If you believe that a debt owed to you is not dischargeable under
                        Bankruptcy Code § 523 (a)(2) or (4), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office
                        by the "Deadline to File a Complaint to Determine Dischargeability of Certain Debts" listed on the front side. The
                        bankruptcy clerk's office must receive the complaint and any required filing fee by that deadline.
Exempt Property         The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                        to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                        exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the
                        debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
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                     receive the objection by the "Deadline to Object to Exemptions" listed on the front side.
Bankruptcy Clerk's   Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office               on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                     property claimed as exempt, at the bankruptcy clerk's office.
Creditor with a      Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address      case.
Trustee's and        The Chapter 13 Trustee or a Creditor may file a report no later than seven days after the initial meeting of creditors
Creditor's Report    reporting the debtor's failure to comply with the requirements to provide tax returns. The Trustee may also use the
                     report to supplement any initial objection to confirmation previously by the Trustee. The report shall allow the
                     debtor ten days to file an objection and verification that the failure to comply was due to circumstances beyond the
                     control of the debtor. Absent separate notice, pursuant to L.B.R. 1017, any objection shall be heard at the time of
                     the Confirmation Hearing.
Local Bankruptcy     The Local Bankruptcy Rules of this Court are posted on the Court's web site at cob.uscourts.gov
Rules
                     −− Refer to Other Side for Important Deadlines and Notices −−
